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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )                8:10CR168
                                              )
      vs.                                     )                 ORDER
                                              )
BARRY ASHCRAFT,                               )
                                              )
                    Defendant.                )



      This matter is before the court on the motion of defendant Barry Ashcraft (Ashcraft)
to surrender to the U.S. Marshal and remain in detention pending the disposition of this
matter (Filing No. 34). The motion will be granted.


      IT IS ORDERED, upon Ashcraft’s surrender to the U.S. Marshal:
      1.     The June 2, 2010, Order Setting Conditions of Release of Barry Ashcraft
(Filing No. 25) is hereby revoked.
      2.     The defendant is committed to the custody of the Attorney General or his
designated representative for confinement in a corrections facility separate, to the extent
practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation
with defense counsel. On order of a court of the United States or on request of an attorney
for the Government, the person in charge of the corrections facility shall deliver the
defendant to the United States Marshal for the purpose of an appearance in connection
with a court proceeding.


      DATED this 1st day of July, 2010.


                                                  BY THE COURT:


                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
